                             Case 1:24-cv-03836-RML Document 1-1 Filed 05/29/24 Page 1 of 7 PageID #: 10
                                                         Exhibit A to the Complaint
Location: Queens, NY                                                                              IP Address: 173.52.229.144
Total Works Infringed: 75                                                                         ISP: Verizon Fios
 Work     Hashes                                                               UTC         Site          Published      Registered   Registration
 1        Info Hash: 849610A8B19EE3B53DB6532BFED64DCF1B78382C                   05/06/2024 Blacked       05/20/2023     06/09/2023   PA0002415379
          File Hash:                                                               08:53:45
          33E613174B4500A0095910B4068105F80341A7A1BD0C6B1BF749FEFA575DDDB3
 2        Info Hash: 4D347C3B922537DECA1E7D90591BCF15F763E318                   05/06/2024 Blacked       04/08/2023     05/15/2023   PA0002411276
          File Hash:                                                               05:48:07
          E18050780127A2B9DCCCF4887FD18CD706BB21E6AA9CA8B0FA0EEFD6C60DA8F3
 3        Info Hash: 237CD43A59EF3FDB8C2BC9692B8E0B572325704E                   05/06/2024 Blacked       01/30/2020     02/20/2020   PA0002237624
          File Hash:                                                               05:47:34
          30F0CF7D815E8CA38A9185CCD8A729338DE271D1F51B1135B41218AB9B5D1A50
 4        Info Hash: F02BAC5363A60ADB385E75B97E345610598ED825                   05/06/2024 Blacked       06/06/2020     06/22/2020   PA0002245636
          File Hash:                                                               05:47:21
          476BDF0CF7FD93560077224E4CBC5C563ACFF3D39B1E894AC00C0754E6B0A06A
 5        Info Hash: 7896526ABD274571906E1C65BD95D360A77FDED3                   05/06/2024 Blacked       08/12/2023     10/18/2023   PA0002435264
          File Hash:                                                               02:37:09
          8EB06E511738AA7D17FE544A22D4503A67B911F5269889708CD63D3EE48FC221
 6        Info Hash: 82BED703989601472ED074989E65249FF83EFA2C                   05/06/2024 Blacked       01/10/2020     02/04/2020   PA0002225582
          File Hash:                                                               02:32:24
          E5A387807981896A5BF05AEE17015F7DB7638322C943E04BA02D40EE1B14DD24
 7        Info Hash: F4307643D7B565CF51E303872C721DD0F212712D                   05/06/2024 Blacked       06/29/2018     07/26/2018   PA0002112160
          File Hash:                                                               02:31:56
          D4A86AAEDBB2CD45F94ABA6972373D6C537043AF51CCB3AB0D92BBF947F7AA89
 8        Info Hash: A4F82BF3ACF8D31161829022CDFA042724D88246                   05/06/2024 Blacked       02/13/2021     02/26/2021   PA0002283713
          File Hash:                                                               02:31:51
          8E9891EFB7628408C6308B20B7935CD16B11A13EE83060B3FB0390A7A3785682
 9        Info Hash: 3C2C57E931F357E253E12A3ECDF03AEF43D74F6B                   05/06/2024 Blacked       02/04/2020     02/20/2020   PA0002229052
          File Hash:                                                               02:28:30
          513C05FB289031E897F550EF7D1B869341186E858EB1638262A2CF057A3C30D6
 10       Info Hash: 712BE5F01D556363B9235A3BD9BF6C1A83F5D34B                   05/05/2024 Blacked       03/05/2022     03/29/2022   PA0002342848
          File Hash:                                                               23:27:25
          4C3BF1B38C5C15EC5583EE9DE43545406BF8694C3C502A967D36AB1946808D8C
 11       Info Hash: 771B337417F64C2496161B5B2E143E72A0EB750C                   05/05/2024 Blacked       03/01/2018     04/12/2018   PA0002091580
          File Hash:                                                               23:27:13
          116A6E09A6319737BB03EBBB911426D1668FF2E5A9177A90E89FC7B5E2E73802
                          Case 1:24-cv-03836-RML Document 1-1 Filed 05/29/24 Page 2 of 7 PageID #: 11

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
12     Info Hash: 04B28AFB91A1BF02D7E20249C1B019C8975DEAEF                05/05/2024 Blacked   12/01/2017   01/04/2018   PA0002097436
       File Hash:                                                            23:26:42
       455EFFEBBFE50A8F46D17310462C8A1A1EDE3428D8D17D846099C6E77DB0D5F3
13     Info Hash: D10643F5B8DC7EB6E2871CBD7FD9239153C8BC2F                05/05/2024 Blacked   02/24/2020   03/18/2020   PA0002241627
       File Hash:                                                            17:22:47
       02BCA113D3AAF56B62AB3AF493DC69B936734239D10699DE6A20516D70C5AE66
14     Info Hash: B7F474A5BDDCF21BF33956707025DCC09BB974A2                05/05/2024 Blacked   02/19/2022   03/29/2022   PA0002342851
       File Hash:                                                            17:20:37
       97596848025554FA4317B070D895BDC1E5AD422E371D3F79AB3AEE83367C69AE
15     Info Hash: C8DC78D20EFD21C816C03C1756298033C7D0A10B                05/05/2024 Blacked   01/01/2022   01/17/2022   PA0002330118
       File Hash:                                                            17:19:39
       8F67AC4A8D9627688943620717D5893D53CDD337D05E269C127C50727C75168D
16     Info Hash: E7B6BE43B719E1A47F3FAEDB2C3C2A840A7E672C                05/05/2024 Blacked   12/04/2021   12/09/2021   PA0002325833
       File Hash:                                                            17:19:26
       EE11FF5FAB5D2E283A774AE0D810570151DC113F6EB3478758FA05C4B26D749F
17     Info Hash: 25B680E1DFD208AA8CDA8A74D98948D615D9AFC5                05/05/2024 Blacked   12/10/2022   01/10/2023   PA0002389588
       File Hash:                                                            17:18:42
       116EE34AA87A7074803D52024B5CFA60F33DD1D8914DBF5AE0CC88C898859B48
18     Info Hash: DD6CFFB54ED403DEF8B7C84CA303A48F6DD4E185                05/05/2024 Blacked   10/03/2020   10/22/2020   PA0002261803
       File Hash:                                                            17:15:53
       964466B3B278ACD333BB146B96EC66EB75636A99F0EB13E90C9F5B00131E63E1
19     Info Hash: 45C35C4FF1ECAC2B218D4A115D3BC0AA8B2DBECE                05/05/2024 Blacked   02/12/2022   02/14/2022   PA0002335505
       File Hash:                                                            17:15:44
       5448F0AFE8C78DA1E7F50B5D0518D20E708C7835C6F0CD2EA18958044E805191
20     Info Hash: D4EE372D4BE2B520F433A9CC2DEB770109AAEBD8                05/05/2024 Blacked   12/24/2022   01/10/2023   PA0002389603
       File Hash:                                                            17:15:28
       F2BAEE7BEBB2424555FA7B26995EADE83FA1E35F5AF03FDC0342B57ED98A9348
21     Info Hash: 198ADFCAD4DFCBB06EBED5D4EA565CAA383A793D                05/05/2024 Blacked   08/28/2021   09/21/2021   PA0002312681
       File Hash:                                                            14:12:39
       DC9B2B3306CD652B4AC7BDD7B5602685EA5735C0ECFF72D2011292B19B6535D0
22     Info Hash: 61F03748D54987A7C3739242E8ABD12A0A7D9A9F                05/05/2024 Blacked   12/19/2020   01/05/2021   PA0002269959
       File Hash:                                                            11:07:06
       3A48FD4742A1FC48E5D13BE6F067BB267A567B6F70DC42ADE012FF9C83C6E0E8
23     Info Hash: CD0A15EE3729AC75B93E7D7101EA9E80266492FB                05/05/2024 Blacked   11/27/2021   02/03/2022   PA0002341770
       File Hash:                                                            11:06:36
       026F54F53E0E8FB3B27DCFEDAF9BF74136972B838CB5474AB7BDCBC98C321FD5
                          Case 1:24-cv-03836-RML Document 1-1 Filed 05/29/24 Page 3 of 7 PageID #: 12

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
24     Info Hash: 59F603F87AFC9AF1322C44164D367AE566415776                05/05/2024 Blacked   08/01/2020   08/11/2020   PA0002252255
       File Hash:                                                            11:02:27
       575D545EA9B4A1F33041DA322267642C1B8FD138E09920CE7A191F5C77D3B97D
25     Info Hash: 3C0FBAFBE3D12B6B57397D24C12C97C905CF912F                05/05/2024 Blacked   10/31/2020   11/24/2020   PA0002265967
       File Hash:                                                            01:30:11
       C8525331857799F173DA3A8B07DF06C08F94E18A01F2CF3061B698D763E1B326
26     Info Hash: BB297D8716D39AD4A8E082DD774C59B08BB6AFE2                05/05/2024 Blacked   10/17/2020   11/05/2020   PA0002263387
       File Hash:                                                            01:27:13
       7D54AB19ADADAA96E409E2DC4D270B50839B04EBDD639682D0F285054BD0CEAC
27     Info Hash: 84BE5D29C319B5EE19826E5C8A77C0C7915FBC82                05/05/2024 Blacked   09/19/2020   09/29/2020   PA0002258681
       File Hash:                                                            01:13:59
       F69DB999E7F2CFE506510E22294B39138105FEC56BB1C9ADA093DB0D5FE22CF6
28     Info Hash: 81855F1C384666E7156E6A33E164AE12B7CCB1F9                05/05/2024 Blacked   08/22/2020   09/05/2020   PA0002255479
       File Hash:                                                            01:00:51
       930DAE3FC54B9C008D01D1E0346A8221B72D0F4108EDF40C524E4CF3CB835D1D
29     Info Hash: 6D380552BA85B8BB1D05C9E12A719D05DA0821B7                05/05/2024 Blacked   03/10/2020   04/15/2020   PA0002246103
       File Hash:                                                            00:56:56
       539F4E40B29CE19AB14241915BA13A6C35E855CAFD89068477A791A1440795AB
30     Info Hash: 351F2378F22F2017A5CAFB4CA52429901D4FE49C                05/05/2024 Blacked   03/05/2020   04/15/2020   PA0002246102
       File Hash:                                                            00:53:14
       EDCB43859CAAE6967AA10734DB754979E75145C6F1C13E1C116871F32CDD13DC
31     Info Hash: F2A2C89A5B342484EA4401C1CD57289AD6F15CF6                05/05/2024 Blacked   11/11/2017   11/27/2017   PA0002098000
       File Hash:                                                            00:46:00
       58CEB8068A7422C0F83D2407F0F7D61F458757134037E045661C1CB939BF7CCB
32     Info Hash: 347EB8BBF6B8E228C2F9BA7A9A197265612FA772                05/05/2024 Blacked   04/18/2020   05/19/2020   PA0002241472
       File Hash:                                                            00:22:38
       B931D29266D2FADFE2A3322C45235ADD3FFFAE069331D254137875D94A013596
33     Info Hash: FE39146F9DAF4014E1B016D7A4A99B25F4BAE402                05/04/2024 Blacked   08/03/2019   09/10/2019   PA0002199412
       File Hash:                                                            23:23:04
       B537777134FFFE0A3C4ED930D7E2EE8EBA2DEEF32DA1B6AA08E0ABA59EC6D2FB
34     Info Hash: 1FA2107E71B211118FE2FAB3DFC967010599234C                05/04/2024 Blacked   10/27/2019   11/15/2019   PA0002211841
       File Hash:                                                            23:10:22
       9814CAC877A03C0B5DBEB12D26F75C168187A6847D46AA0D528968F3E23175A9
35     Info Hash: 1CBBB085FCE43A83EB8FBAE5D43B93D3BD79244F                05/04/2024 Blacked   07/19/2019   09/10/2019   PA0002199415
       File Hash:                                                            23:06:21
       241A0A738355784BB3E971B23A14883217883B7568770D027ED4183073D7A17F
                          Case 1:24-cv-03836-RML Document 1-1 Filed 05/29/24 Page 4 of 7 PageID #: 13

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash: FC01C1CE4497B047BE71D1D2AFF80C114FAF8318                05/04/2024 Blacked   07/29/2019   09/11/2019   PA0002214887
       File Hash:                                                            23:03:48
       12A31BBC796DF7D54116684B016EBF34AB7D1615F68F6BDB3F5CCF64739D0428
37     Info Hash: 48D735E92903334A5B936010585CBC536EBE0FB2                05/04/2024 Blacked   10/12/2019   11/05/2019   PA0002227087
       File Hash:                                                            23:03:34
       6591888B8126832A3FB6784E9072B8AA3E74B1BDE4EF4F4155855606A600385D
38     Info Hash: 126B4C68ED9AF257146D88E97BE782D5B0D26E15                05/04/2024 Blacked   12/01/2019   12/17/2019   PA0002217663
       File Hash:                                                            22:56:24
       B7FE3399E766C71C056060AF40B39439E138E13F695BFF2B3EB5D22AD64F358B
39     Info Hash: A4E9CA40EE8821E51440C447F95F66F100EAA306                05/04/2024 Blacked   09/02/2019   09/13/2019   PA0002200702
       File Hash:                                                            22:56:00
       2AE84BF08DB5611E718A7CD13EF0D3C03DC9128FF56053E3CE0DCD40E86805C4
40     Info Hash: 35FDE5E9586A2384935D45D06B4A5CB93B6CC733                05/04/2024 Blacked   07/24/2019   09/10/2019   PA0002199414
       File Hash:                                                            22:52:50
       DA1977D3F3445C344AF9246990806BF6C58C2B94525C19D2F099076D968D8C09
41     Info Hash: BE59B87BAF05D5D0B70979E292CACE8549F4F307                05/04/2024 Blacked   10/17/2017   11/27/2017   PA0002097981
       File Hash:                                                            22:50:35
       28CBD40143B0D41575AC132CC70A857F8F93BB095B22DB6333E622A5C632B88E
42     Info Hash: 454183F2D02E6F226C75CE2D6E15D1100B01881E                05/04/2024 Blacked   12/11/2017   01/04/2018   PA0002097429
       File Hash:                                                            22:46:58
       F0C1AE10848CC91CE24842ACE73B46149CE056D8F33DEEBCCD63E6F33CEB6139
43     Info Hash: 6712A83CCBC45583FC4EDD4913126CFB0DA9A713                05/04/2024 Blacked   04/05/2018   04/17/2018   PA0002116752
       File Hash:                                                            22:14:23
       208E1EED03051F34D5995BB6CEDFFF032F283EDDC293B3402A10C14E62808DE8
44     Info Hash: 1385A65FD7244C185035D391F362DA5B34119AE9                05/04/2024 Blacked   09/12/2019   09/25/2019   PA0002203159
       File Hash:                                                            22:13:28
       4FF6C0E55F70D8D37CD65A5DD9C19F09BBFBDE4B869E07643C70A44A4FAC384F
45     Info Hash: B392EC6D7963133D567FEE6AA33AFDDDB5D60EFB                05/04/2024 Blacked   12/31/2019   01/27/2020   PA0002223957
       File Hash:                                                            22:12:31
       9AC6DEAD097B6381396649BAA0E7331BAF8FDDC44544342BC97B244B35643D95
46     Info Hash: FAE52C807FB980D3425090BE95D5488782E18BF8                05/04/2024 Blacked   09/07/2019   09/25/2019   PA0002203158
       File Hash:                                                            22:03:37
       B166CC8D612508C77E8A14BC13539377162B0CE356966DC62D51FB6DCEB1DD28
47     Info Hash: 69DE3BE7CA9EED50BA22615B1724F7651B1D2A75                05/04/2024 Blacked   07/04/2019   08/27/2019   PA0002213242
       File Hash:                                                            22:03:06
       4979915DEA7645349FCB948C8239B258D59A905B2FF6CEBF883B449B5FC770A0
                          Case 1:24-cv-03836-RML Document 1-1 Filed 05/29/24 Page 5 of 7 PageID #: 14

Work   Hashes                                                             UTC        Site       Published    Registered   Registration
48     Info Hash: F56D251D42E2192AAAA3CBF79AE2E834B8E49A42                05/04/2024 Blacked    08/23/2019   09/11/2019   PA0002199989
       File Hash:                                                            21:57:57
       BFB2F7BA49662B563D559FA77B28A62277AF2BBF79E2B373E832E234C87A7AC1
49     Info Hash: C3B4882E06C4DFA37CFB1E147B78B3131284D317                05/04/2024 Blacked    03/26/2019   04/16/2019   PA0002187002
       File Hash:                                                            21:49:49
       BB6CEA46B1E9B5B0FCAA614818BCDAAF662F24664055BAA0EB872DF3BBDD00CF
50     Info Hash: 5713BF1A0D472849D169B6A33C0C10353FE75A55                05/04/2024 Blacked    04/10/2018   05/23/2018   PA0002101304
       File Hash:                                                            21:38:29
       D3A87F24438C181F8B4680891AF83D34C4D5195F4EF19DB21D870F704AF61336
51     Info Hash: C948721A26FA8822BC7C4DE9D104154F40CEC029                05/04/2024 Blacked    12/21/2017   01/15/2018   PA0002070941
       File Hash:                                                            21:38:21
       D8BE055A58626EB6660E191E34884CCEAA6CB829B6ACB1BD1397DC73C252F29A
52     Info Hash: 4444ECF2D9FDDCACCDC4C3846902D55C6516C4A8                05/04/2024 Blacked    05/25/2017   06/22/2017   PA0002039290
       File Hash:                                                            21:15:09
       95F271DEB4A28E164AB251B107E3D3AD2667CF88F75756E8394C5E409F156336
53     Info Hash: B20560C6F003A2832B89807ECEB8B0F75527E843                05/04/2024 Blacked    11/21/2017   01/04/2018   PA0002069353
       File Hash:                                                            20:57:32
       5D6AE1F8A87EC6EC0E1F95C3927042C4039A068A7C27DF466E4ABD7D7F414DF7
54     Info Hash: 46F1EF82946DFAD9C807FCE97ED4B05DC82E5AD0                05/04/2024 Blacked    05/15/2017   06/22/2017   PA0002039283
       File Hash:                                                            20:41:13
       FCF15ECBB8A39559BED0ABC4F777CA41B18B22B50A35042E07DF4B381759768C
55     Info Hash: 6EC9DB838FAF4891BA6FED26ABC0C4985457F8F2                04/24/2024 Blacked    04/23/2024   05/08/2024   PA0002469855
       File Hash:                                                            17:54:55
       1BC31CD67533B445E8C26611C192B973D0A44944637B6062B1A0028FBF1EC4B7
56     Info Hash: E5281EB882D08A8DAD654B4DEACFAD0188D8B30F                04/24/2024 TushyRaw   04/23/2024   05/09/2024   PA0002470229
       File Hash:                                                            05:48:51
       A98CD13A821509FAF5B85034BF25900FEE7CF4759E2332B47CF1A9FDC2DFAE7A
57     Info Hash: 2B8EF2F1C37206F6F6CF251F2C85DA17B4333F09                04/23/2024 Blacked    04/18/2024   05/08/2024   PA0002470014
       File Hash:                                                            05:41:40
       5617C056DD7380135886872F2F2813E2F306BE5A42AC1C043C5DB3CFAD2F3DA0
58     Info Hash: CF709BE23F9D45C71EF4660EEB500746427540F9                04/06/2024 TushyRaw   04/02/2024   04/12/2024   PA0002465217
       File Hash:                                                            05:42:08
       8AE4854F81A7E3B8BA0B98516E900905F4AAE35603BA516D685D5E7AF9AB99BE
59     Info Hash: 60B23B75CB6129C70A44720EEAAD17BEBDE21454                04/04/2024 Blacked    04/03/2024   04/10/2024   PA0002464919
       File Hash:                                                            06:02:19
       FBA3F588BB6977C3B094CCA34D0E6A2DA5D760287621DB813F71B9C5297081AC
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Work   Hashes                                                             UTC        Site       Published    Registered   Registration
60     Info Hash: 6DB1BBB5D6079FFEC02CEEF53E705909D27BF67A                02/04/2024 TushyRaw   01/30/2024   02/13/2024   PA0002454780
       File Hash:                                                            18:50:18
       513F3DAD6947663CCCF995617390E089A49C622DA16F515D30D7B99A76B72EF0
61     Info Hash: 28075E6DB1CD71B56E1338D3AF9E09A4EA4DF64E                02/04/2024 Blacked    02/03/2024   02/14/2024   PA0002455061
       File Hash:                                                            07:50:44
       9B13EB23CF5173248D5AE414F1DE6590FC967894498F47A9BDF21922C109C862
62     Info Hash: FB8AF0371C7176D020AF9445E8E4ECB136318C73                01/31/2024 Blacked    01/27/2024   02/27/2024   PA0002457000
       File Hash:                                                            06:42:03
       0821E7F8DA91169C492CBE0758BE7EBE021AA93446779A8AC724FEEE863228D2
63     Info Hash: 60E1C605B72CD91E72600CA8CBCE8B83254C692B                01/21/2024 Blacked    01/20/2024   02/13/2024   PA0002454784
       File Hash:                                                            10:03:20
       DBF58E68B01896BB25F3151EEB39027D3CDA28EA073F166A623216872DC56618
64     Info Hash: 3F9CFC9C4DF017C2456AD5079B7B50EF33EA2CDB                01/18/2024 Blacked    01/13/2024   02/13/2024   PA0002454785
       File Hash:                                                            18:48:47
       C966FF37529F52BAA9488751683D1AD536DED8E4F7D902C57255397F10C86C52
65     Info Hash: 82DFCA9D374E780083222F97E559F75C26C80FD1                01/18/2024 TushyRaw   01/17/2024   02/14/2024   PA0002455062
       File Hash:                                                            08:07:01
       862B6261F9A85E01742A0F68F43CF7A1708AC25DB78867DDED96E54648F7C246
66     Info Hash: 162337E60FB23131F9D01A70F85D6E24E236D211                01/11/2024 TushyRaw   01/10/2024   02/13/2024   PA0002454777
       File Hash:                                                            03:30:54
       7F606CA147CC7FA2453B5D88583F9D64615C7D3E80F06E0E222E85B8A6B91432
67     Info Hash: 717B23AFA020E344534B78CBA89EADC950EF8419                01/07/2024 Blacked    01/06/2024   01/16/2024   PA0002449249
       File Hash:                                                            00:47:26
       6C9FCEA061541DB1410522AEE3C9A19DE6F5D13170AFD912A74196568B28719A
68     Info Hash: FE803E309D20546F408C85E885D593E7EC570F43                01/03/2024 TushyRaw   01/03/2024   01/16/2024   PA0002449519
       File Hash:                                                            22:39:45
       0E3049DF3A7DBCB868F84951EB8F2B77F234BB45F42AB4F8DB4B5E9BA0C4DDF4
69     Info Hash: F6F26D3133DA455D06CA3E6CEF70EC8222CD21A4                12/28/2023 TushyRaw   12/27/2023   01/16/2024   PA0002449500
       File Hash:                                                            06:07:31
       0F2A780E0D4A44317B12FD8C7B8D79ED208BDF09862675A0F2E84E359CBB719E
70     Info Hash: BE7871622824AE5C2CFA781A1B9867155127F8DB                12/24/2023 Blacked    12/23/2023   01/16/2024   PA0002449251
       File Hash:                                                            03:42:46
       3C997225FF6D45C03353FD804983767B8D69B8C487EB74D3DA408E55A35A1F0A
71     Info Hash: 9FF225EC7F400331AEB244C71F3B87B3B0CFCB92                12/21/2023 TushyRaw   12/20/2023   01/16/2024   PA0002449518
       File Hash:                                                            14:38:15
       DBBBDEAEFB498DD23D467D9AF9595739906D2D2BE52F945640A559F13EC6C98E
                          Case 1:24-cv-03836-RML Document 1-1 Filed 05/29/24 Page 7 of 7 PageID #: 16

Work   Hashes                                                             UTC        Site       Published    Registered   Registration
72     Info Hash: B81C9C0A0574CF67B8A99A4C0C11CD4AD413BEAD                12/17/2023 Blacked    12/16/2023   01/16/2024   PA0002449250
       File Hash:                                                            00:46:07
       5EB604A7EA4E9045BE0A9EBC51CFAF3A4BCB5A09816A892EBEDF17543D5C2BD6
73     Info Hash: 17FD82AE34D39F2027588209284E2DDF61B222A3                12/14/2023 Blacked    09/17/2018   10/16/2018   PA0002127778
       File Hash:                                                            16:20:48
       14622CA9160486DFCA997B681E7BC99D305CD1ADFBFAA6CA663B7B15C3FD7073
74     Info Hash: E873B529D01A64101D46A5C10603349C9ECD76E6                12/13/2023 TushyRaw   12/13/2023   01/16/2024   PA0002449498
       File Hash:                                                            22:39:16
       D30AA470588B92555B3CB8986F6D084506D46CD4F188B4D63BFB49262057BC7F
75     Info Hash: F3EBC615D18D3097E921FE882B37D3C8EEA91AFD                12/10/2023 Blacked    12/09/2023   01/15/2024   PA0002449247
       File Hash:                                                            08:08:42
       264A465F3609B79EC83483275F51E01A6AA3EBACC57579CAE865CB86298760D4
